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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION                    )
800 K Street, N.W., Suite 1000                       )
Washington, D.C. 20001,                              )
                                                     )
                             Plaintiff,              )
                                                     )
             v.                                      ) Case No. 22-297
                                                     )
U.S. CUSTOMS AND BORDER PROTECTION                   )
U.S. Department of Homeland Security                 )
1300 Pennsylvania Avenue, N.W.                       )
Washington, D.C. 20229                               )
                                                     )
                        Defendant.                   )
_____________________________________________        )


           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      This is an action under the Freedom of Information Act (FOIA), 5 U.S.C.

§ 552, as amended, to secure the release of records responsive to the October 22,

2021 FOIA request that the National Treasury Employees Union (NTEU) submitted

to U.S. Customs and Border Protection (CBP) within the U.S. Department of

Homeland Security. The FOIA request seeks internal CBP emails falling within

specified search criteria.

                                     JURISDICTION

      1.     This Court has jurisdiction over this cause of action under 28 U.S.C.

§ 1331 and 5 U.S.C. § 552(a)(4)(B) because this is an action to enforce the

requirements of FOIA.
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                                       VENUE

      2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e) and 5

U.S.C. § 552(a)(4)(B).

                                      PARTIES

      3.     Plaintiff NTEU is an unincorporated association with its principal

place of business at 800 K Street, N.W., Suite 1000, Washington, D.C. 20001.

Pursuant to Title VII of the Civil Service Reform Act, Public Law No. 95-454, 92

Stat. 1111, NTEU is the exclusive bargaining representative of approximately

150,000 federal employees.

      4.     Defendant CBP is an agency within the U.S. Department of Homeland

Security. Its principal place of business is 1300 Pennsylvania Avenue, N.W.,

Washington, D.C. 20229. CBP has possession and control over the records that

NTEU seeks.

                              STATEMENT OF FACTS

      5.     On October 22, 2021, NTEU requested the following information from

CBP through the FOIA Online portal (Exhibit A):

             Type of Records: All e-mail messages that fit the following criteria.
             Dates: March 1, 2020 - July 31, 2020
             Content: Related to search term “weather and safety leave”
             To/From/CC: Todd Owen, former Executive Assistant Commissioner,
             OFO, and either or both of the following individuals: (1) former Acting
             CBP Commissioner Mark Morgan; (2) former Border Patrol Chief
             Rodney Scott.

      6.     On October 25, 2021, NTEU received a letter from CBP acknowledging

the request, confirming the tracking number, and invoking the 10-day extension

available to the agency under 6 C.F.R. § 5.5(c) (Exhibit B).
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      7.     On December 8, 2021, the response deadline pursuant to the 10-day

regulatory extension passed. See 5 U.S.C. § 552(a)(6)(A); 6 C.F.R. § 5.5(c). CBP

nonetheless failed to respond to NTEU’s request by that date.

      8.     On December 9, 2021, NTEU inquired about the status of its request

using the FOIA Online portal (Exhibit C).

      9.     On January 4, 2022, NTEU sought an update from CBP by email.

      10.    On January 13, 2022, NTEU again inquired about the request through

the FOIA Online portal (Exhibit C).

      11.    On January 13, 2022 and January 27, 2022, NTEU left voicemails with

the CBP FOIA Liaison Office. CBP returned those calls on January 14, 2022, and

January 28, 2022. In each instance, CBP could only provide a generalized time

estimate of 2 weeks to 6 months. The estimate was not specific to NTEU’s request.

      12.    Since invoking the 10-day extension on October 25, 2021, CBP has not

communicated with NTEU about its request, except for the two general time

estimates provided over the telephone.

      13.    CBP has failed to produce any records responsive to NTEU’s October

22, 2021 FOIA request.

      14.    CBP has not indicated whether it will produce any records responsive

to NTEU’s October 22, 2021 FOIA request.

      15.    CBP has not invoked any FOIA exceptions in response to NTEU’s

October 22, 2021 FOIA request.




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        16.    Because NTEU has not received a response to its FOIA request and

because the deadline for a response has long since passed, NTEU has exhausted its

administrative remedies.

        17.    NTEU has a statutory right to disclosure of the records requested in its

October 22, 2021 FOIA request to CBP, and there is no legal basis for CBP’s failure

to respond to NTEU’s request or for its failure to produce the requested records

within the statutory deadline.

                                  CAUSE OF ACTION

        18.    Plaintiff reasserts and incorporates herein the allegations set forth in

paragraphs 1 through 17.

        19.    Under 5 U.S.C. § 552(a)(3), CBP must produce, upon request, records

not specifically exempted by FOIA or for which disclosure is not otherwise

prohibited by law.

        20.    NTEU has requested records that are not specifically exempted by

FOIA and for which disclosure is not otherwise prohibited by law. CBP’s failure to

respond to NTEU’s request and its failure to produce the requested records violate

FOIA.

                                REQUEST FOR RELIEF

        WHEREFORE, plaintiff NTEU respectfully requests that this Court:

        (1)    Declare that CBP’s failure to release the records requested by NTEU is

               unlawful;

        (2)    Order CBP to make the requested records available to NTEU;



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      (3)    Award NTEU its costs, reasonable attorneys’ fees and expenses, and

             other disbursements in this action; and

      (4)    Grant any additional appropriate relief.

                                Respectfully submitted,

                                /s/ Julie M. Wilson
                                JULIE M. WILSON
                                General Counsel
                                D.C. Bar No. 482946

                                /s/ Paras N. Shah
                                PARAS N. SHAH
                                Associate General Counsel for Litigation
                                D.C. Bar No. 983881

                                /s/ Kathryn W. Bailey
                                KATHRYN W. BAILEY
                                Assistant Counsel
                                D.C. Bar No. 1643256

                                NATIONAL TREASURY EMPLOYEES UNION
                                800 K Street, N.W., Suite 1000
                                Washington, DC 20001
                                (202) 572-5500

February 4, 2022                Counsel for Plaintiff NTEU




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               Exhibit A
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Kathryn Bailey

From:                            no-reply@foiaonline.gov
Sent:                            Friday, October 22, 2021 1:37 PM
To:                              Kathryn Bailey
Subject:                         FOIA Request CBP-2022-007287 Submitted


This message is to confirm your request submission to the FOIAonline application: View Request. Request information is
as follows:

      Tracking Number: CBP-2022-007287
      Requester Name: Kathryn Bailey
      Date Submitted: 10/22/2021
      Request Status: Submitted
      Description: Type of Records: All e-mail messages that fit the following criteria.
       Dates: March 1, 2020 - July 31, 2020
       Content: Related to search term "weather and safety leave"
       To/From/CC: Todd Owen, former Executive Assistant Commissioner, OFO, and either or both of the following
       individuals: (1) former Acting CBP Commissioner Mark Morgan; (2) former Border Patrol Chief Rodney Scott.

       Please contact us if projected fees are greater than $100.




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               Exhibit B
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Kathryn Bailey

800 K Street NW
Suite 1000
Washington, DC, 20001



                                                                                               10/25/2021

                                                                                       CBP-2022-007287

Dear Kathryn Bailey:



This notice acknowledges receipt of your Freedom of Information Act (FOIA) request to U.S. Customs
and Border Protection (CBP) received on 10/22/2021. Please use the following unique FOIA tracking
number CBP-2022-007287 to track the status of your request. If you have not already done so, you must
create a FOIAonline account at https://foiaonline.gov. This is the only method available to check the
status of your pending FOIA request.



Provisions of the Act allow us to recover part of the cost of complying with your request. We shall charge
you for records in accordance with the DHS FOIA regulations outlined on the DHS website,
https://www.federalregister.gov/documents/2016/11/22/2016-28095/freedom-of-information-act-
regulations. By submitting your request, you have agreed to pay up to $25.00 in applicable processing
fees, if any fees associated with your request exceed this amount, CBP shall contact you; however, the
first 100 pages are free.



Due to the increasing number of FOIA requests received by this office, we may encounter some delay in
processing your request. Consistent with 6 C.F.R. Part 5 §5.5(a) of the DHS FOIA regulations, CBP
processes FOIA requests according to their order of receipt. Although CBP’s goal is to respond within 20
business days of receipt of your request, FOIA does permit a 10-day extension of this time period in
certain circumstances pursuant to 6 C.F.R. Part 5 §5.5(c). [As your request seeks documents that will
require a thorough and wide-ranging search, CBP will invoke a 10-day extension for your request
pursuant to 6 C.F.R. Part 5 §5.5(c). If you would like to narrow the scope of your request, please contact
our office. We will make every effort to comply with your request in a timely manner.] OR [As your
request seeks a voluminous amount of separate and distinct records, CBP will invoke a 10-day extension
for your request pursuant to 6 C.F.R. Part 5 §5.5(c). If you would like to narrow the scope of your
request, please contact our office. We will make every effort to comply with your request in a timely
manner.] OR [As the subject matter of your request is of substantial interest to two or more components
of CBP or of substantial interest to another agency, we will need to consult with those entities before we
issue a final response. Due to these unusual circumstances, CBP will invoke a 10-day extension for your
request pursuant to 6 C.F.R. Part 5 §5.5(c). If you would like to narrow the scope of your request, please
contact our office. We will make every effort to comply with your request in a timely manner.]

CBP’s FOIA Division is working hard to reduce the amount of time necessary to respond to FOIA
requests. We truly appreciate your continued patience.



For additional information please consult CBP FOIA website please click on FOIA Act Resources or visit
http://www.cbp.gov/site-policy-notices/foia.



Sincerely,

U.S. Customs and Border Protection
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               Exhibit C
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                                                                 Correspondence


  CBP-OIT-2022-007287 Request Details


                       Submitted              Evaluation            Assignment              Processing               Closed



    Correspondence


     Subject                                                                                  From                   Date        Detail

     FOIA Request CBP-2022-007287 Submitted                                                   System                 10/22/2021    +

     FOIA Tracking Number Change for request CBP-2022-007287 (to CBP-OIT-                     System                 10/25/2021    +
     2022-007287)

     Acknowledgement Letter                                                                   Diamond                10/25/2021    +
                                                                                              Valentine

     Re: Acknowledgement Letter                                                               Ms. Kathryn            12/09/2021    −
                                                                                              Bailey

     To Whom It May Concern:I am writing to inquire about the status of this FOIA request. The system lists the deadline as
     11/23/2021, and we have also waited an additional 10 work days per the acknowledgement letter's notice of the 10-
     day regulatory extension. We would appreciate any updated information about the status of the request. I can be
     reached at kathryn.bailey@nteu.org or 202-465-3148. Sincerely,Kathryn BaileyAssistant Counsel, NTEU Office of
     General Counsel
     Reply

     Re: Re: Acknowledgement Letter                                                           Ms. Kathryn            01/13/2022    −
                                                                                              Bailey

     Good afternoon,I wanted to reach out once more to see if we can get any additional information about the status of
     this FOIA request. I sent an email to the CBP FOIA Public Liaison email on January 4 about this same request. I also
     just left a voicemail at the phone number. We understand that there can be delays but we would very much
     appreciate an update given the amount of time that has passed. Sincerely,Kathryn Bailey
     Reply




https://foiaonline.gov/foiaonline/action/registered/correspondence?trackingNumber=CBP-OIT-2022-007287&type=request                         1/1
